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          IN THE UNITED STATES DISTRICT COURT FOR THE
                MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT, et al.,

             Plaintiffs,
                                       Civil Action
     v.
                                       No. 1:16-cv-02145-JEJ
THE MILTON HERSHEY SCHOOL              (The Honorable John E. Jones)
AND SCHOOL TRUST, et al.               (The Honorable Martin C. Carlson)
             Defendants.



    MEMORANDUM OF LAW IN SUPPORT OF INTERVENOR THE
          PHILADELPHIA INQUIRER’S MOTION TO
               UNSEAL JUDICIAL RECORDS

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                                INTRODUCTION

      Intervenor The Philadelphia Inquirer, PBC (“The Inquirer”), publisher of

The Philadelphia Inquirer, respectfully submits this Memorandum of Law in

support of its Motion to Unseal Judicial Records.

      Further to its pending June 20, 2019 motion to unseal court documents, ECF

266, The Inquirer respectfully requests an order unsealing the sealed or partially

sealed documents at docket entries 294, 295, 296, 298 and 299 that were filed with

the Court on December 17, 2019 (the “Sealed Records”). The Sealed Records

were filed by Plaintiffs and Defendants in support of motions for summary

judgment. For the reasons set forth in The Inquirer’s prior briefing in this matter,

see ECF 267, 274, 278, 302, which is expressly incorporated by reference herein,

the Sealed Records should be immediately unsealed.

 RELEVANT PROCEDURAL HISTORY & STATEMENT OF THE FACTS

      The Inquirer previously filed a motion to intervene in this matter for the

limited purpose of seeking an order unsealing court documents, including the

sealed documents at docket entries 127, 135, 160, 161, 173, 174, 176, 196, 203,

204, and 205. ECF 266. That Motion was referred to the Magistrate Judge, who,

on October 22, issued a Memorandum Opinion and Order granting The Inquirer’s

motion to intervene in this matter and provisionally unsealing the documents at

docket entries 127, 135, 160, 161, 173, 174, 176, and 196. ECF 286 (the “Order”).
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The Order permitted Defendants to propose redactions to these documents within

45 days “to protect the private interests of nonparties, or alternatively” to “make a

particularized showing” justifying their continued sealing. Id. at 23. The Order

further permitted The Inquirer “within 14 days to challenge any redactions it

deems insufficient or any showing of good cause made by defendants” and

indicated that the Court would “then conduct a document-by-document analysis of

the remaining disputed documents.” Id. at 23–24. On December 6, 2019,

Defendants filed their Brief in Support of Continued Sealing And/Or Redactions

Per The Court’s October 22, 2019 Opinion and Order, accompanied by proposed

redactions. ECF 291. The Inquirer filed its response today. ECF 302.

      On December 17, 2019, Plaintiffs filed a motion for partial summary

judgment against Defendants “as to whether Defendants’ Decision to Prohibit

Abbie Bartels From Returning to School in June 2013 Failed to Comply With its

Applicable Policies and Procedures.” ECF 293. Plaintiffs’ memorandum of law

and all other documents filed in support of their partial motion for summary

judgment were filed entirely under seal. See ECF 294, 295, 296. That same day,

Defendants filed a motion for summary judgment on all of Plaintiffs’ remaining

claims. ECF 297. Defendants publicly filed redacted versions of their

memorandum of law and all other documents filed in support of their motion for

summary judgment, stating that said documents were “redacted in conformity with
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Defendants’ December 6, 2019, submission to the Court.” Id. at 2; see also ECF

298, 299.

                  STATEMENT OF QUESTIONS INVOLVED

      1.     Can the parties meet their heavy burden of demonstrating compelling

interests sufficient to overcome the strong presumption of public access to the

Sealed Records under either the common law or the First Amendment?

             Suggested Answer: No.

      2.     If the parties can meet their burden of overcoming the public right of

access to some portion of the Sealed Records, must continued sealing be narrowly

tailored and supported by specific, on-the-record factual findings demonstrating

the existence of countervailing interests sufficient to overcome the public right of

access?

             Suggested Answer: Yes.

                                   ARGUMENT

I.    The Sealed Records Should Be Unsealed.

      The judicial records at issue, which include the memoranda of law and other

supporting documents submitted with Plaintiffs’ Partial Motion for Summary

Judgment (“Plaintiffs’ MSJ”) and Defendants’ Motion for Summary Judgment

(“Defendants’ MSJ”), were filed entirely or partially under seal.

      Consistent with the public’s well-settled presumptive right of access to

judicial records, The Inquirer respectfully requests that the Sealed Records be
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unsealed in their entirety for the reasons set forth in detail in its prior briefing in

this matter. See ECF 267, 274, 278, 302. To the extent the Court determines that

any party seeking continued sealing of any portion of the Sealed Records has met

its burden to show that such sealing is warranted, The Inquirer respectfully

requests that such sealing be both narrowly tailored and explained in sufficiently

detailed, on-the-record findings.

                                    CONCLUSION

      For the reasons set forth above, The Inquirer respectfully requests that the

Court enter an order requiring the Clerk of the Court to immediately unseal the

judicial records reflected at docket entries 294, 295, 296, 298 and 299.
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December 20, 2019       Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I, Katie Townsend, Esquire, hereby certify that on the 20th day of December

2019, I caused the foregoing to be served via ECF upon all counsel in the above-

captioned matter.

Dated: December 20, 2019
                                 /s/ Katie Townsend
                                   Katie Townsend
